                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


JAMES JILEK, et al., on behalf of               )
himself and all others similarly situated,      )
                                                )
                       Plaintiffs,              )
                                                )
       v.                                       )   Case No. 3:23-cv-00818-RJC DCK
                                                )
COMPASS GROUP USA, INC., d/b/a                  )
CANTEEN,                                        )
                                                )
                       Defendant.               )
                                                )


   PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION




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I.         INTRODUCTION

      The number of grounds on which Compass contends this motion must fail is truly

remarkable. Is this the worst class certification motion in the history of Rule 23, or is Compass

simply grasping at multiple straws? Plaintiff shows herein that it is indisputably the latter.

      And the word “straws” in the previous paragraph is fitting because Compass leads off with a

classic straw-man argument. In contending that this class action fails because the class is not

ascertainable, it asserts that Plaintiff proposes that ascertainability of class members be shown by

submissions of affidavits “standing alone.”1 But Plaintiff never proposed that. To the contrary,

class members will be identified by submissions of affidavits (or bank records) in combination

with Compass’ objective records,2 an approach approved in this Circuit as well as the Third

Circuit, on whose approach to ascertainability Compass heavily relies. As a result, Compass’

argument falls apart.

      Compass’ myriad predominance arguments are no more availing:

          It argues that there are individual questions regarding its liability because each purchase

           must supposedly be proved separately, but it ignores the common evidence that makes

           out the class’s prima facie case for breach of contract. Its argument, if valid, would bar

           any breach-of-contract class action.

          Its voluntary-payment argument boils down to contending that it can defeat

           predominance with mere allegations of the affirmative defense without an iota of

           supportive evidence, something no case has ever held and several have refuted. And even

           ignoring that reason to discount Compass’ cases, they are in the distinct minority.


1
    See Compass Group’s Resp. in Opp. to Plff James Jilek’s Motion for Class Cert. (“Def. Mem.”), Doc. 295, at 3-13.
2
    Memorandum in Support of Plaintiffs’ Motion for Class Certification (“Plff. Mem.”). Doc. 293-1, at 25.
                                                           1



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         Compass’ standing argument fails for the same reason. There is no basis to find, on this

          record, that any class member’s claim will fail on standing grounds.

         Compass argues that the damages issue precludes predominance because of the

          possibility that absent class members may have continued to make card purchases after

          learning of the upcharge – without any examples of where that happened. But not only

          does Compass ignore Plaintiff’s case law to the contrary, most of the cases Compass cites

          support Plaintiff by holding that a damages expert need not exclude damages due to other

          causes at the class certification stage or that the mere possibility of uninjured class

          members cannot defeat predominance. And its other cases simply don’t apply here.

         Compass argues that state law differences defeat predominance in three ways, but, as for

          two, the statute of limitations and prejudgment interest, it ignores how Plaintiff proposes

          to handle them, much less argues that the methods are improper, and as to the third, the

          affirmative defense of waiver, there is no evidence indicating that this is a viable defense.

      Compass argues that the motion fails on manageability grounds, but it mainly relies on its

straw-man argument against the use of affidavits. Its argument is therefore meritless.

      Finally, Compass challenges typicality, an argument at which the court “need not tarry for

long” because, as Compass implicitly concedes, commonality is present. 1988 Tr. for Allen

Children v. Banner Life Ins. Co., 28 F.4th 513, 523 (4th Cir. 2022).

II.       REPLY TO COMPASS’ FACTUAL BACKGROUND

      Compass’ “Factual Background” (Def. Mem. 3-13) takes no issue with Plaintiff’s Statement

of Proceedings or Statement of Facts (Plff. Mem. at 3-23), but it does put its own gloss on the

facts. For example, it claims that several former plaintiffs dismissed their cases “in response to”

their depositions having been noticed, as though they dismissed to avoid testifying. But each of
                                                    2



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them presented different reasons for dismissing, reasons that Compass ignores.3 And other than

the brain-damaged Mr. Borrero, Compass was not prevented from deposing any of them.4

      Moreover, certain “facts” that Compass presents are either false or misleading. For example,

Compass states that Mr. Moore doesn’t know if he was overcharged before March 2018, when

counsel’s assistant Carolyn told him of the surcharge, suggesting that he never made an

unknowing purchase. Def. Mem. 6 (citing deposition excerpts it submitted as Ex. B, Doc. 260-2,

23:8-20; 24:3-9; 54:16-21). But his full transcript shows that he corrected that testimony because

his records showed he made later card purchases, something he consistently said he never did

after learning of the surcharge. Doc. #257-9 (Moore Tr.), 58:19-61:9. Thus, he had to have

learned of the surcharge later, after making the card purchases shown in his records:

           Q. . . . And -- and so it -- does it make sense, then, that she told you about the
            extra 10 cents after those dates?

           A. Yes, it makes sense.

           Q. Okay. And is that what you now think happened?

           A. Yes.

Id., 61:2-9.

      Compass criticizes Mr. Borrero for changing his purchase locations during discovery and

identifying a place with no Compass machines. Def. Mem. 10-11. But it doesn’t acknowledge

that he suffers from traumatically induced brain damage with both short-term and long-term

3
 George Moore withdrew because his need to care for his ailing mother and mother-in-law prevented him from
bearing the responsibilities of class representative. Doc. # 257-9 (Moore Tr.) 56:18-57:7. Virginia Carter wanted to
drop out long before her deposition was noticed in 2023. Doc. 257-3 (Carter Tr.) 24:7:21 (she made the decision
shortly after leaving her job at 1010 Market); (Carter Tr.) 87:10-88:6 (left 1010 Market in 2018 or 2019). Sean
Madelmayer no longer wished to serve as a class representative. See Docs. 202 and 203. Brian Baldwin concluded,
after beginning the process of preparing for his deposition, that the case would entail much more work than he
expected. See Plff. Suppl. to Motion for Class Cert., Doc. 294, at 1. Andres Borrero could not satisfy Rule 23’s
adequacy requirement because of short-term and long-term memory loss due to traumatically induced brain damage.
Id.
4
    Compass could have subpoenaed Messrs. Madelmayer and Baldwin, as it did Ms. Carter, but did not.
                                                         3



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memory loss. See Plaintiffs’ Supplement to Motion for Class Certification, Doc. 294. Surely, his

confusion is understandable and should not be held against the other putative class members.

   Compass also points out that the locations of some individuals’ purchases had both labeled

and unsurveyed machines and, misleadingly in the case of others, labeled and unlabeled

machines. Def. Mem. 9 (Baldwin), 11 (Borrero, Pemberton), and 12 (Whitaker). It sums up that

evidence thusly: “Many locations (like those from which Baldwin, Pemberton, and Whitaker

made purchases, and from which Borrero originally claimed to have made purchases) had a

combination of properly labeled and unlabeled (or unsurveyed) machines.” Def. Mem. 24. Note

the parentheses around “unsurveyed,” as though it were an exception. It’s not. For Messrs.

Borrero and Whitaker, Compass acknowledges that the machines were either labeled or

unsurveyed, not unlabeled.

   Regarding Messrs. Baldwin and Pemberton, Compass relies on a Declaration by Attorney

Nicole Mueller who reports on results of surveys at the workplaces where they made their

purchases. Doc. # 261 (Mueller Decl.), ¶¶ 18, 20. Those reports show that, of the surveyed

machines at a given workplace, except for one entry that’s an obvious error, they were unlabeled

in the earlier visits and labeled later as they should have been, given that the surveyors were to

place labels on unlabeled machines. See Ex. A (Declaration of Richard S. Cornfeld [“Cornfeld

Decl.”], ¶¶ 4-18) and Ex. 1 and Ex. 2 thereto. At none of these workplaces were there labeled

and unlabeled machines at the same time. Id. ¶18. Moreover, among the thousands of locations

nationwide where Compass had machines, it has not shown a single location that had both

labeled and unlabeled machines simultaneously.

   Compass also takes aim at Plaintiff’s expert, Dr. Brian Kriegler. It states, based on his

deposition, that he “did not perform the sampling and analysis necessary to calculate an actual
                                                 4



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estimate of damages” (Def. Mem. 12, citing Kriegler Tr. 19:4-22:4), suggesting that he never did

it. But that’s not true, as Compass knows. At the time of his deposition, he had only proposed a

methodology. Doc. #157-7 (Kriegler Report), ¶38. He couldn’t do the full analysis without

Compass’ photographs, which it inexplicably had never produced or even mentioned until June

27, 2023, just six weeks before his expert report was due. See Cornfeld Decl. ¶ 19. Dr. Krieger

obtained photos of a random sample of machines later. He described the full analysis with them,

along with Compass’ newly revised and produced Survey Instance Report, in his Second

Supplemental Report, Doc. # 257-18. See discussion in Plff. Mem., 18-20, 21-23.

III.      ARGUMENT

       A. Compass’ Arguments on Ascertainability Are Either Based on a Straw Man or Are
          Even Weaker.

          1. Compass’ principal argument against ascertainability attacks a straw man
             because Plaintiff does not advocate using affidavits standing alone.

       Compass’ principal argument regarding ascertainability is based on a straw man, namely, as

it titles its first and longest subsection on this issue, “Ascertainability Cannot be Satisfied

Through Affidavits Standing Alone.” Def. Mem. 16. See also id. at 16-17 (“[I]n Plaintiff’s view,

an affidavit standing alone would be sufficient to verify a claim.”).

       A simple reading of Plaintiff’s brief shows that that was not Plaintiff’s argument. Yes,

Plaintiff stated that class members who lack credit or debit card records showing their purchases

can provide affidavits, but not standing alone. Here is what Plaintiff said about it in full:

          Class members can submit their credit or debit card records to show purchases at
          Defendant’s machines, or if needed, provide affidavits to verify card purchases.
          Claimants will, of course, need to identify the location of the machines from which
          their purchases were made; that will enable the administrator to perform a simple
          match with Compass’ data to verify that they were, in fact, Compass’ no-label
          machines.

Plff. Mem. 25. Compass’ data, as Plaintiff stated, will be objective records that “come from
                                                 5



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Defendant’s own survey of its machines.” Id. at 26. They are the same records that Compass

itself used to show that Ms. Jaye’s and Mr. Borrero’s purchases were not from its machines and

that the locations of other purchases contained labeled machines. Thus, Plaintiff will satisfy the

test for ascertainability from In re Marriott Int’l, Inc., 341 F.R.D. 128, 135 (D. Md. 2022).

           a. Not surprisingly, Compass’ ascertainability cases do not support it.

   As might be expected, considering that Compass is arguing against a position that Plaintiff

never took, the cases Compass cites in this section of its brief, both from within and outside this

Circuit, do not support it. For instance, Compass’ reliance on Krakauer v. Dish Network L.L.C.,

925 F.3d 643, 657-58 (4th Cir. 2019), and Marriott, see Def. Mem. 18, 19, is based on the

ground that they applied objective records in finding the classes ascertainable, again aiming at a

straw man because Plaintiff proposes doing the same thing. See Plff. Mem. 24-26.

   The basis of the decision in Richards v. NewRez LLC, 2021 U.S. Dist. LEXIS 51233 (D. Md.

Mar. 18, 2021), see Def. Mem. 17, was not ascertainability at all, but the court’s determination

that Plaintiff had alleged a “fail safe” class, one that “is defined so that whether a person

qualifies as a member depends on whether the person has a valid claim.” Id. at *70 (citation

omitted). Although the court mentioned the ascertainability requirement (id. at *71), it did not

find the class unascertainable.

   Chatman v. GC Servs., LP, 57 F. Supp. 3d 560, 570 and n. 17 (D.S.C. 2014), see Def. Mem.

23, also did not rule on class certification; it deferred ruling to allow supplemental briefing. And

Plaintiff had cited Soutter v. Equifax Info. Servs., LLC, 307 F.R.D. 183, 196-98 (E.D. Va. 2015),

see Def. Mem. 19, not for use of affidavits, which the court did not address, but because,

according to Marriott, it exemplified the more lenient approach to ascertainability in this Circuit.

See Plff. Mem. 25.
                                                  6



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   That leaves Compass’ two remaining cases from this Circuit, Career Counseling, Inc. v.

AmeriFactors Fin. Grp., LLC, 91 F.4th 202, 211 (4th Cir. 2024), and Anderson v. Lab. Corp. of

Am. Holdings, 2023 U.S. Dist. LEXIS 23532, at *45 (M.D.N.C. Feb. 13, 2023), see Def. Mem.

20, but in neither case were there objective records that could be used to verify the claims, as

there are here in conjunction with affidavits.

           b. Under the law in the Third Circuit, on which Compass purports to rely, this
              class is ascertainable.

   Perhaps recognizing that Fourth Circuit cases don’t support it, Compass emphasizes

decisions of the Third Circuit, which originated the “heightened ascertainability” approach. See

Def. Mem. 17-18. However, assuming this case is governed by Third Circuit case law, it is clear

that Plaintiff’s proposed class is ascertainable.

   One wouldn’t know it from Compass’ argument, but the Third Circuit has repeatedly

approved the use of self-identifying affidavits, in conjunction with objective records, to find

classes ascertainable. See City Select Auto Sales, Inc. v. BMW Bank of N. Am., Inc., 867 F.3d

434, 441 (3d Cir. 2017) (“Affidavits, in combination with records or other reliable and

administratively feasible means, can meet the ascertainability standard.”); Hargrove v. Sleepy’s

LLC, 974 F.3d 467, 470 (3d Cir. 2020) (same).

   In City Select, a case brought under the Telephone Consumer Protection Act, the court stated:

“Even if it is true that the BMW fax was not sent to every customer who had a fax number in the

database during the relevant time period, the class could still be certified, so long as there is a

method for determining which customers did receive such faxes, which could be by affidavit.”

867 F.3d 434, 442 n. 4 (emphasis added).

   In Hargrove, a class of full-time delivery drivers sought to use the defendant’s records, along


                                                    7



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with affidavits, in part to fill in gaps in those records. In reversing the denial of class certification

on ascertainability grounds, the Third Circuit stated:

         Appellants have met that requirement. They submitted thousands of pages of
         contracts, driver rosters, security gate logs, and pay statements, as well as testimony
         from a dozen class members stating they were required to work exclusively for
         Sleepy's full-time. ‘Affidavits, in combination with records or other reliable and
         administratively feasible means, can meet the ascertainability standard.’

974 F.3d at 470 (quoting City Select, 867 F.3d at 441). The court declined to hold the gaps in the

defendant’s records against the plaintiffs because the gaps were created by the defendant’s faulty

record keeping. The court stated: “[W]here an employer’s lack of records makes it more difficult

to ascertain members of an otherwise objectively verifiable class, the employees who make up

that class will not be made to bear the cost of the employer’s faulty record keeping.” 974 F.3d at

482. Similarly, the fact that Compass failed to survey, or erroneously found to be unlabeled, a

small percentage of its machines shouldn’t prevent the class from moving forward.5 As in

Hargrove, affidavits can suffice to verify purchases from those machines.

    Nor does it matter if Compass’ faulty records make the class overinclusive. The Third Circuit

rejected that argument in City Select, 867 F.3d 434, 442 n.4 (“While a high degree of over-

inclusiveness could prevent certification, any degree of over-inclusiveness will not do so.”).6

    The Third Circuit has reiterated Hargrove’s holding repeatedly. In Kelly v. Realpage Inc., 47

F.4th 202, 224 (3d Cir. 2022), the court pointed out that “affidavits [from the Hargrove class


5
 Regarding unsurveyed machines, see Ex. 257-7 (Kriegler Rept.) ¶ 30 (among machines with two-tier revenue,
12,093 were unsurveyed, 50,293 were unlabeled, and 133,186 were labeled, for a total of 195,572; unsurveyed
machines thus made up 6.2% of the total.) Compass’ expert David Kalat found that only 8% of the random selection
of machines reported to be unlabeled actually had labels, i.e., had been erroneously surveyed. See Plff. Mem. 20.
6
 See also the district court’s decision in Krakauer v. Dish Network L.L.C., 311 F.R.D. 384, 393 (M.D.N.C. 2015),
which dismissed the argument that inaccuracies in the defendant’s records would make the class impermissibly
overinclusive. The court stated: “If the Court were to deny certification because Dish does not keep an accurate list
as the regulations require and Dish itself cannot identify which individuals on the list actually requested not to be
called, it would create the perverse incentive for entities to keep poor records.” Id.
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members] in combination with ‘thousands of pages of contracts, driver rosters, security gate logs,

and pay statements’ sufficed to ascertain a class of full-time drivers for Sleepy’s, despite gaps in

the records and the work required to synthesize ‘several distinct data sets.’” See also In re

Niaspan Antitrust Litig., 67 F.4th 118, 131-32 (3d Cir. 2023) (“We thus determined [in

Hargrove] that the plaintiffs had identified records that, in combination with affidavits,

established a reliable and administratively feasible method for determining class membership.”).

    Compared to the multiple types of records that needed to be reviewed in Hargrove –

contracts, driver rosters, security gate logs, and pay statements – this case will involve only two

data sets, the Survey Instance Report (showing the locations of the no-label machines) and the

Two-Tier Revenue Report (showing that those machines imposed the upcharge). See Plff. Mem.

30-31. The class will therefore be more readily ascertainable than the Hargrove class.

    In Kelly, the court also gave short shrift to the defendant’s complaint about the number of

records to be reviewed. It stated: “[T]hat is essentially an objection to the size of the class, which

. . . is not a reason to deny class certification. . . . To hold otherwise would be to categorically

preclude class actions where defendants purportedly harmed too many people, which would

‘seriously undermine the purpose of a class action to ‘vindicate meritorious individual claims in

an efficient manner.’” 47 F.4th at 224-25 (citation omitted). It added: “Such a process of

identification does not require a ‘mini-trial,’ nor does it amount to ‘individualized fact-

finding[.]’” 47 F.4th at 225 (citation omitted). Nor, despite Compass’ complaint, does it here.

        2. The logic of out-of-Circuit cases regarding affidavits applies here.

    Compass’ second ascertainability subsection argues that Plaintiff’s out-of-Circuit cases

should be disregarded because those courts don’t apply the two-step analysis of the Fourth

Circuit. Def. Mem. 20-22. But Plaintiff cited those cases, not because they are controlling, but
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for their reasoning regarding affidavits. For example, the Seventh Circuit stated, “In most cases,

the expected recovery is so small that we question whether many people would be willing to sign

affidavits under penalty of perjury saying that they purchased the good or service.” Mullins v.

Direct Dig., LLC, 795 F.3d 654, 667 (7th Cir. 2015). In re Dollar Gen. Corp. similarly stated:

“Self-identification affidavits are appropriate in ‘consumer class actions concerning low-cost

products . . . where . . . financial incentives to falsify are low.” 2019 U.S. Dist. LEXIS 58082, at

*65-66 (W.D. Mo. Mar. 21, 2019) (citing 1 McLaughlin on Class Actions § 4:2 (15th ed. 2018)).

Compass has not rebutted those statements, whether with logic or case law, but they are

obviously relevant to instances where Compass’ records will be unable to confirm a claimant’s

statement because the machines at issues were unsurveyed. That situation is like Hargrove,

where affidavits could not be verified because of gaps in the records. 974 F.3d at 482.

   Similarly, the Seventh and Ninth Circuits have pointed out that the defendant’s due process

rights won’t be violated if some class members inappropriately recover because its total liability

will already have been determined. Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1132 (9th

Cir. 2017); Mullins, 795 F.3d at 670. Compass ignores this point. Of course, it is consistent with

the cases cited above that held classes ascertainable even though they are overinclusive. City

Select, 867 F.3d 434, 442 n. 4; Krakauer, 311 F.R.D. at 393.

   Compass does respond to Plaintiff’s argument – based on Morales v. Kraft Foods Grp., Inc.,

2015 WL 10786035, *36 (C.D. Cal. June 23, 2015) – that if Plaintiff’s approach were rejected,

cases based on small dollar purchases would be impossible to bring. It relies on In re Asacol

Antitrust Litig., 907 F.3d 42, 56 (1st Cir. 2018), which postulated other means of bringing

redress to injured consumers, such as FTC lawsuits (but only prospective relief would be

available) or state parens patriae cases. But if that were a reason to deny certification, there
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would never be a certified consumer class because a court could always hold that FTC or parens

patriae cases could vindicate consumer rights. In any event, Compass’ practices have apparently

not come to the attention of the FTC or state governments, so it remains the case that if

certification were denied, class members could obtain no redress.

   Compass also relies on Asacol for its limitation of In re Nexium, 777 F.3d 9, 20 (1st Cir.

2015), regarding unrebutted testimony. Plaintiff had cited Nexium as it was quoted by In re

Simply Orange Orange Juice Mktg. & Sales Practices Litig., 2017 U.S. Dist. LEXIS 114806,

*17 (W.D. Mo. July 24, 2017): “[I]f unrebutted consumer testimony ‘would be sufficient to

establish injury in an individual suit, it follows that similar testimony in the form of an affidavit

or declaration would be sufficient in a class action.” Asacol’s limitation of Nexium focused on

the word “unrebutted.” It ruled that, in the case before it, consumer affidavits would be

inherently rebuttable. As explained in a later decision, “[i]n Asacol, class membership depended

on brand loyalty, which was only knowable by questioning a putative class member.” Sheet

Metal Workers Local No. 20 Welfare & Ben. Fund v. CVS Pharmacy, Inc., 540 F. Supp. 3d 182,

204 (D.R.I. 2021). There were no objective records that could confirm or refute a consumer’s

brand loyalty. But here, as described above, class membership will depend on comparison of a

consumer’s claimed purchase with Compass’ records.

       3. Compass’ “credibility” challenges to ascertainability fall flat.

   In its third ascertainability section, Compass finally, if grudgingly, addresses Plaintiff’s

actual proposal, that ascertainability will be determined by a comparison of class member’s

claims with Compass’ objective records. It oddly professes not to know “what information

claimants would have to provide, or how the administrator would ‘perform a simple match.’”

Def. Mem. 23. That should have been clear. Claimants will have to specify the addresses of their
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purchases and approximate dates when they occurred. The administrator would then do a

comparison of that information with Compass’ Survey Instance and Two-Tier Revenue Reports

to determine whether the purchase was from an unlabeled Compass machine.

   Then, perhaps most bizarrely of all, Compass insists that this process would not have weeded

out the claims of Ms. Jaye and Mr. Borrero, whose purchases were not from Compass’ machines.

Id. It wouldn’t? How can that be? A comparison with Compass’ reports was exactly how

Compass weeded them out. The administrator could, of course, do the same thing, just as it could

be done in Hargrove by comparing the class members’ claims to “thousands of pages of

contracts, driver rosters, security gate logs, and pay statements.” 974 F.3d at 470. Compass goes

on to argue that the process would not have verified Mr. Jilek’s original claim, which identified

an inaccurate location (due to counsel’s typographical error). Id. But any class member who puts

in an erroneous claim simply won’t recover. That’s true of any claims-made class action.

   Compass then reverts to its argument against the “straw man” by citing four cases in which

plaintiffs proposed to use affidavits and nothing but affidavits. See cases cited at id. at 24-25.

Those cases are no more applicable to this case than the similar decisions Compass cited earlier.

   B. Compass’ Multiple Predominance Arguments Have No Merit.

   Compass makes five separate arguments on why the predominance element of Fed. R. Civ.

P. 23(b)(3) is absent. Is it continuing to grasp at straws? The discussion below says yes.

       1. Compass has not refuted Plaintiff’s argument that common evidence will
          establish Plaintiff’s prima facie case.

   In arguing against Plaintiff’s position that common evidence will establish each of the four

elements of Plaintiff’s prima facie case for breach of unilateral contract, Compass initially argues

that each purchase needs to be proved with separate evidence. Def. Mem. 26. But that is no more


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the case here than in other breach-of-contract class actions. Compass does not dispute that each

two-tier machine displayed a price but then charged card-purchasers ten cents more. In fact,

Compass’ labels specifically referred to “the prices displayed on this machine,” an

acknowledgement that the machines displayed prices. See Doc. 257-3 (Goldring Tr. as 30(b)(6)

corporate designee), 60:17-61:2. The other elements of breach of contract are proven by the

common evidence in Compass’ Survey Instance and Two-Tier Revenue Reports. See Plffs’

Mem. 30-31. Compass doesn’t even attempt to refute that point.

   Moreover, Compass’ argument that Plaintiff needs to prove each class member’s purchase

separately would prevent any breach-of-contract class action from being certified. That is not the

law. See Gunnells v. Healthplan Servs., 348 F.3d 417, 428 (4th Cir. 2003) (finding that whether

the defendant breached its contract to administer and timely pay claims was an “issue[] common

to all potential class members, and [does] not require any individualized inquiry.”).

   In the face of that simple point, Compass’ cases do not support it. None of them involved

claims of breach of unilateral contracts. The plaintiff in Anderson v. Lab. Corp. of Am. Holdings,

2023 U.S. Dist. LEXIS 23532, at *25 n.16 (M.D.N.C. Feb. 13, 2023), see Def. Mem. 26, alleged

an implied-in-fact contract, which under state law would be established by the parties’ conduct,

an inherently individual issue. See the court’s earlier decision at 2019 U.S. Dist. LEXIS 138620,

at *8 (M.D.N.C. Aug. 16, 2019), incorporated therein at Anderson, 2023 U.S. Dist. LEXIS

23532, at *25 n.16, defining an implied-in-fact contract.

   Although Compass doesn’t say so, In re TD Bank, N.A. Debit Card Overdraft Fee Litig., 325

F.R.D. 136, 157 (D.S.C. 2018), see Def. Mem. 27, certified the breach of contract subclasses,

stating, “Accordingly, the Court finds that individualized proof will be of minimal relevance, if

at all, to the core questions of contract interpretation presented by the breach of contract claim.”
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Compass’ quote comes from the court’s denial of a separate, unrelated statutory class.

   Compass’ out-of-Circuit cases are no more supportive of its position. In Herskowitz v. Apple,

Inc., 301 F.R.D. 460, 471 (N.D. Cal. 2014), see Def. Mem. 26, the alleged breach was selling

two downloads instead of one; the basis of the court’s holding was that some customers

undoubtedly desired a second download. But not even Compass argues that any class members

wanted to pay more for a card purchase. The alleged breach in Schertzer v. Bank of Am., N.A.,

2022 U.S. Dist. LEXIS 62741, at *51 (S.D. Cal. Apr. 4, 2022), see Def. Mem. 26-27, was

charging for “invalid” balance inquiries on an ATM, but whether an inquiry was valid or invalid

was an individual question. Nothing like that is involved here.

   Compass’ remaining arguments on this point relate to whether purchasers were aware of the

surcharge. Def. Mem. 27, That is duplicative of its voluntary-payment affirmative defense and its

damages argument, which are addressed below (see Subsections 2 and 4).

       2. Compass’ voluntary payment argument fails because there is no evidence to
          support it and, in any event, its cases represent the minority position.

   Compass relies heavily on its voluntary-payment affirmative defense to defeat predominance.

But Plaintiff’s Memorandum pointed out that there was no evidence to support that defense, i.e.,

evidence to show that any class member knew of the surcharge at the time of his or her first

purchase. Plff. Mem. 36. That is still the case, something Compass ignores. But, in the five-and-

a-half years of this litigation, Compass could have elicited such evidence if it existed. (See

further discussion in Subsection 4, related to damages, below.) It did not.

   Nevertheless, Compass asks this Court to reject this class action merely because it alleged a

voluntary-payment defense. That argument, if accepted, could allow any defendant to derail a

class action simply by alleging an affirmative defense that would raise individual questions (e.g.,


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waiver or estoppel). Compass has offered no case that so held.

    Nevertheless, Compass states that “[t]he voluntary payment doctrine has routinely served as

a bar to class certification.” Def. Mem. 28. Routinely? It’s the minority position. Compass

ignores the seven cases Plaintiff cited to the contrary, some rejecting the voluntary-payment

argument outright and some because, like Compass, the defendant had presented only “scant

evidence” or less to support it.7

    Compass mentions only three voluntary-payment decisions, but none held that the defendant

had supported its position with only a bare affirmative defense. In Spagnola v. Chubb Corp., 264

F.R.D. 76, 98 (S.D.N.Y. 2010), which, as Compass points out (id. at 95), stated that “numerous

courts have found that the predominance requirement is not satisfied where class claims are

subject to a unique defense under the voluntary payment doctrine” (see Def. Mem. 28), the

defendant argued that discovery showed the applicability of the defense, and the plaintiff

conceded that the defense would be an issue but contended it was a common one, an argument

the court rejected. 264 F.R.D. at 99 n. 25.

    Some cases, both those cited by Compass and by Spagnola, found that the defense had been

made out across the class, with the only issue whether an exception for fraud, duress or the like

applied. Thus, every class member would lose on the merits because of their voluntary payments

unless they could establish the exception, an inherently individual issue. See Gawry v.

Countrywide Home Loans, Inc., 640 F. Supp. 2d 942, 957 (N.D. Ohio 2009), cited by Spagnola

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  See Van v. LLR, Inc., 61 F.4th 1053, 1067 (9th Cir. 2023) (rejecting the argument because of the “scant evidence”
to support the defense); Cox v. Porsche Fin. Servs., 330 F.R.D. 322, 335, affirmed and adopted, 330 F.R.D. 322,
327 (S.D. Fla. 2019) (“Defendant … has not proffered any record evidence” supporting the defense.); Underwood v.
Kohl’s Dep’t Stores, Inc., 2017 U.S. Dist. LEXIS 186927 (E.D. Pa. Nov. 13, 2017) (same). See also cases ruling that
the defense simply doesn’t defeat predominance: Kimber Baldwin Designs, LLC v. Silv Communs., Inc., 2016 U.S.
Dist. LEXIS 173481, at *15 (S.D. Ohio Dec. 15, 2016); Whitton v. Deffenbaugh Disposal, Inc., 2014 U.S. Dist.
LEXIS 153405, at *21 (D. Kan. Oct. 28, 2014); Ackerman v. Coca-Cola Co., 2013 U.S. Dist. LEXIS 184232, at *88
n.35 (E.D.N.Y. July 17, 2013); Dupler v. Costco Wholesale Corp., 249 F.R.D. 29, 39 (E.D.N.Y. 2008).
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(“Plaintiffs will have to demonstrate that the voluntary payment resulted from duress or fraud,”

an individualized issue). In Stuart v. Glob. Tel *Link, 956 F.3d 555, 561 (8th Cir. 2020), see Def.

Mem. 28, the court affirmed the district court decision, Mojica v. Securus Techs., Inc., U.S. Dist.

LEXIS 109017, at *24 (W.D. Ark. June 29, 2018), which similarly held that the defendant could

assert the defense against every class member, who would therefore have to demonstrate an

exception such as fraud, duress or mistake of fact to prevail.

   In Endres v. Wells Fargo Bank, 2008 U.S. Dist. LEXIS 12159 (N.D. Cal. Feb. 6, 2008), see

Def. Mem. 28, the defendant contended “that each customer was provided with clear written

disclosures” of the fee at issue, and the court found that “the record confirms that some class

members read these disclosures” and paid anyway. Id. at *22.

   Camafel Bldg. Inspections, Inc. v. BellSouth Advert. & Pub’lg Corp., 2008 U.S. Dist. LEXIS

18192, at *16 (N.D. Ga. Mar. 7, 2008), a Spagnola case, granted summary judgment to the

defendant after citing much voluntary-payment evidence. With that evidence in the record, the

court then went on to consider class certification and ruled that the voluntary payment defense

was a bar to predominance. Thus, this case does not support Compass’ argument that it can rely

only on its bare allegation.

   Finally, purporting to quote Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 321 (4th

Cir. 2006), Compass concludes its voluntary-payment argument by stating, “The Fourth Circuit

has already rejected Plaintiff’s theory that Compass ‘has the burden of demonstrating that

resolution of that [affirmative] defense cannot occur on a class-wide basis.’” Def. Mem. 30 (sic;

the quote is slightly off). Compass once again aims at a straw man because Plaintiff’s argument

is different, namely that Defendant has not shown this is a viable defense with its less than “scant

evidence.” See Van, 61 F.4th at 1067. Thorn doesn’t help Compass on the merits either. There,
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every class member’s claim was outside the period of limitations by more than 20 years. Id. at

317, 320. Their claims could only be saved if they had no knowledge of the illegal practices

within the period. Id. at 320. But their knowledge was an inherently individual issue, just like

fraud, duress and mistake of fact in the voluntary-payment cases. These cases provide no support

for the notion that a defendant can defeat predominance merely by alleging voluntary payment.

        3. Compass’ standing argument is based on speculation.

    Compass’ standing argument fails for the same reason. It states that the class “include[s]

individuals who have not suffered an injury in fact: purchasers who made all purchases with

knowledge of the price differential” (Def. Mem. 30), but there is no evidence that that is the case

for a single putative class member.

    As with voluntary payment, Compass hasn’t cited a single case declining certification on

standing grounds based only on such speculation. In Cuming v. S.C. Lottery Comm’n, 2008 U.S.

Dist. LEXIS 26917, at *14-16 (D.S.C. Mar. 28, 2008), see Def. Mem. 30-31, two named

plaintiffs had testified themselves out of standing by stating “that they purchased lottery tickets

with the knowledge that the SCEL sold lottery tickets after the top prizes were no longer

available.” Obviously, there was an evidentiary basis to find that some class members had no

standing. And Student A v. Liberty Univ., Inc., 2023 U.S. Dist. LEXIS 182018 (W.D. Va. Oct.

10, 2023), see Def. Mem. 31, is even farther afield. There the court considered standing together

with mootness and concluded that plaintiffs’ claims failed because Liberty University “had

voluntarily paid [the named plaintiffs] amounts that exceed their total asserted financial injury

. . . .” Id. at *18-19. That case would help Compass if it had reimbursed its customers their

overcharges, but of course it hasn’t.



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       4. Compass’ damages argument is based on speculation and is contrary to case law,
          including from cases Compass claims to rely on.

   Plaintiff has shown that most of the present or former plaintiffs who learned of the surcharge

did so in the process of joining this lawsuit, a fact unique to them among class members. Absent

class members could not have learned of the surcharge in this way. Only Brian Baldwin learned

of it on his own and continued purchasing. In arguing that damages present individual issues,

Compass relies only on those named individuals. But there is no evidence that any other putative

class member made card purchases after learning of the surcharge. See Plff. Mem. 36-37.

   Compass calls “Plaintiff’s statement that ‘if [Baldwin] were not a rarity, surely Compass

would have found more such individuals’ ... circular logic” (Def. Mem. 35), but it is hardly that

(i.e., an argument with a premise and conclusion that are essentially identical, like “Alex is a

cheerful person because he’s always in a good mood”; see https://www.britannica.com/topic/

circular-argument).

   Compass also says the proposition is not true. Def. Mem. 35. But it is certainly true. If the

number of class members who made purchases after learning of the surcharge were not de

minimis, Compass could have found them. For example. it says it “received consumer

complaints regarding the signage or labeling of Compass’s vending machines after individuals

learned that a purchase made with a credit or debit card cost more than a purchase made with

cash.” Def. Mem. 4. It could have inquired of those complainants whether they had made card

purchases after gaining such knowledge. It could also have conducted consumer surveys, either

generally or among employees at companies where its machines were located, and asked whether

they made knowing purchases. See FTC v. Tel. Prot. Agency, Inc., 2005 U.S. Dist. LEXIS

53234, at *3 (W.D.N.C. Aug. 29, 2005) (relying on survey that showed percentage of consumers


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who did not authorize defendant to bill their credit cards). Or it could have conducted focus

groups of such employees. See H.B. Rowe Co., Inc. v. Tippett, 615 F.3d 233, 248-49 (4th Cir.

2010) (relying on focus groups regarding decisions of prime contractors).

   Considering the lengths to which Compass has gone to defend this case, one can only

speculate about whether it used these tools and obtained unfavorable results. But no matter.

Compass offers only speculation on the subject.

   Compass also attacks Dr. Kriegler’s model on the ground that he didn’t exclude knowing

purchases. But that’s not required. See cases cited at Plff. Mem. 38, which stand for the

proposition that damages calculations need not be exact at this stage and that inclusion of a de

minimis number of uninjured class members doesn’t defeat predominance. Compass doesn’t

even mention, much less attempt to distinguish, those cases.

   In the face of that clear case law, the decisions Compass cites provide it no support. Most

actually support Plaintiff. KBC Asset Mgmt. NV v. 3d Sys. Corp., 2017 U.S. Dist. LEXIS 159781,

at *19 (D.S.C. Sep. 28, 2017), see Def. Mem. 32, granted class certification and rejected the

argument Compass makes. It ruled, “As to Defendants’ contentions Coffman’s methodology

fails to make an allowance for any damages caused by things other than Defendants’ alleged

fraud, such is not required at the class certification stage of the proceedings.” In recommending

the class be certified in In re Zetia Ezetimibe Antitrust Litig., 2020 U.S. Dist. LEXIS 183601, at

*77 (E.D. Va. Aug. 13, 2020), see Def. Mem. 33, Magistrate Judge Miller rejected the

defendant’s argument that plaintiff’s damages model included uninjured class members because,

like Compass, the defendant “ha[d] not identified any putative class member that suffered no net

damage on all transactions.” Compass quotes a statement in In re Modafinil Antitrust Litig., 837

F.3d 238, 260 (3d Cir. 2016), see Def. Mem. 33, to the effect that the predominance requirement
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applies to damages but ignores the very next sentence: “This does not mean, however, that

damages must be ‘susceptible of measurement across the entire class for purposes of Rule

23(b)(3).’” Id. (citation omitted). That court rejected the defendants’ challenge to the plaintiffs’

damages model. Id. at 262. And in Hall v. Marriott Int’l, Inc., 344 F.R.D. 247, 278. 279 (S.D.

Cal. 2023), see Def. Mem. 33-34, the court stated: “While the mere possibility of uninjured class

members would likely not defeat predominance, the evidence here suggests that approximately

50% of the class may be uninjured. ... The Court is not satisfied that a damages model that

awards damages to so many potentially uninjured consumers is viable under Comcast.” But here

“the mere possibility of uninjured class members” is all there is.

   Compass’ two other cases are simply inapposite. In Hooker v. Citadel Salisbury LLC, 2023

U.S. Dist. LEXIS 68861, at *34-36 (M.D.N.C. Apr. 20, 2023), see Def. Mem. 33, where nursing

home patients alleged inadequate care, the reason damages presented individual questions was

that their injuries were so different, including “failure to properly take patients’ temperatures,

failure to change clothing, failure to respond to family inquiries,” among others. The claimed

damages in Wheeler v. United Servs. Auto. Ass'n, 2013 U.S. Dist. LEXIS 122447, at *14 (D.

Alaska Aug. 27, 2013), see Def. Mem. 33, were “a percentage of each class members’ personal

injury damages.” As the court noted, “the predominance requirement . . . precludes certification

in most mass tort personal injury cases,” because damages “are not susceptible to formulaic

calculation.” Id. (quoting 2 Newberg on Class Actions § 4:54). But here they are.

       5. Compass’ state law arguments either ignore how Plaintiff proposes to handle the
          laws of different states or rely on speculation.

    In his Memorandum, Plaintiff pointed out that each state where class members made

purchases recognizes unilateral contracts and that the same elements necessary to prove a breach


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of such a contract apply in each state. See Plff. Mem. 11. Plaintiff supported that point with a

detailed, 17-page exhibit setting forth each state’s definition of unilateral contract along with the

elements of breach of contract in that state. Ex. H, Doc. # 257-10.

    Nevertheless, without challenging that analysis of state law but arguing that “an

overwhelming number of federal courts have denied certification of nationwide state-law class

actions” (Def. Mem. 35, citation omitted and italics removed), Compass argues that certification

of Plaintiff’s multi-state class should be denied. To the extent that Compass may be suggesting

that a multi-state state-law class can never, or even rarely, be certified, that is not the case. The

Newberg treatise states: “There are at least five distinct situations in which the choice of law

analysis in a multi-state class action may not block certification on predominance grounds.” 2

Newberg and Rubenstein on Class Actions § 4:61 (6th ed.). Two of them apply here, No. 4,

where the substantive law does not significantly vary across the states, and No. 5, where the

“substantive laws of the various states might be capable of being organized into groups of states

with similar legal regimes.” Id. Moreover, Ward v. Dixie Nat’l Life Ins. Co., 257 F. App’x 620,

628 (4th Cir. 2007), one of Compass’ cases, see Def. Mem. 24, shows that multi-state classes

with state law claims can be certified; that court rejected the multi-state class only because the

plaintiff “never identified what state law would apply to the claims of absent class members who

are not residents of South Carolina and whose claims have no connection to that state.” But

Plaintiff has identified the states’ laws.

    Nevertheless, Compass argues that state-law differences in three aspects of the case defeat

predominance. Its arguments have no merit.

    Statute of limitations. In support of this motion, Plaintiff addressed differences in the

statutes of limitations and showed how they can be handled. Plff. Mem. 35-36 and Ex. U, Doc. #
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293-5 (setting forth the statutes of limitations in each state). Among other things, Plaintiff

showed that the discovery rule would not affect any class member’s claim. In a nine-line

response on the subject, Compass does not even mention Plaintiff’s analysis, much less attempt

to refute it. It even mentions differences in the discovery rule without acknowledging that

Plaintiff had pointed out they don’t matter here. Id. Its argument should be rejected.

   Compass’ affirmative defense of waiver. Compass states that its waiver defense would bar

the claims of “putative class members who continued to make credit or debit card purchases after

learning of the ten-cent charge without asserting a cause of action or notifying Compass,” and

argues that state law differences in the law of waiver bar certification. Def. Mem. 36. This is

closely akin to Compass’ voluntary-payment defense, and, just as with that defense, there is no

evidence showing that it would apply to any absent class member. In Sacred Heart Health Sys. v.

Humana Military Healthcare Servs., 601 F.3d 1159, 1167 (11th Cir. 2010), on which Compass

relies, see Def. Mem. 36, there was “evidence that, among all the hospitals in the certified class,

only about nine of them objected to the use of CMAC, suggesting that the rest of the hospitals

waived their rights to challenge the CMAC payments.” Nothing like that is present here. Thus,

just as with its voluntary-payment defense, Compass should not be permitted to scuttle this class

based on what is nothing more than conjecture.

   Prejudgment interest. Dr. Kriegler’s methodology included separately applying the interest

rates of each state; he set forth those rates in an exhibit to his report. Doc. 257-7 (Expert Report

of Brian Kriegler, Ph. D.). This was simply a mechanical process. But without even mentioning

what Dr. Kriegler did, much less criticizing it, Compass argues that state-law difference in the

application of prejudgment interest necessitate denying certification. This objection, divorced

from the record, should be rejected.
                                                 22



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   C. Compass’ Manageability Argument Fails for the Same Reason as with Damages.

   Compass’ attack on manageability focuses on damages based once again on its straw-man

argument regarding affidavits. See Def. Mem. 38-39 (citing Xavier v. Philip Morris USA Inc.,

787 F. Supp. 2d 1075 (N.D. Cal. 2011), for its rejection of affidavits without verification). But it

should be clear that Plaintiff’s use of affidavits in combination with Compass’ records does not

make the case unmanageable. In fact, denying class certification on manageability grounds, as

then Circuit Judge Sotomayor stated, “is disfavored and ‘should be the exception rather than the

rule.’” In re Visa Check/MasterMoney Antitrust Litig., 280 F.3d 124, 140 (2d Cir. 2001) (citation

omitted); see also DeLoach v. Philip Morris Companies, Inc., 206 F.R.D. 551, 567 (M.D. N.C.

2002) (“Though any case of such magnitude certainly poses problems of manageability, …

dismissal for management reasons, in view of the public interest involved in class actions, should

be the exception rather than the rule.”) (internal citations and quotations omitted). Moreover, this

requirement generally overlaps with predominance, and “courts generally hold that if the

predominance requirement is met, then the manageability requirement is met as well.” In re

Marriott, 341 F.R.D. at 166.

   Faced with the same issue of whether the need to prove individualized damages defeats

manageability, the court in Vance v. DIRECTV, LLC, 2022 U.S. Dist. LEXIS 140518, at *31

(N.D.W. Va. Aug. 1, 2022), rejected the argument that the class action should fail and listed the

following options, taken from In re Visa, 230 F.3d at 141, for handling the case:

       (1) bifurcating liability and damage trials with the same or different juries; (2)
       appointing a magistrate judge or special master to preside over individual damages
       proceedings; (3) decertifying the class after the liability trial and providing notice
       to class members concerning how they may proceed to prove damages; (4) creating
       subclasses; or (5) altering or amending the class.

   But here the damages claim simply will not present insurmountable manageability problems.

                                                 23



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At trial, Dr. Kriegler and undoubtedly Mr. Kalat will present their aggregate damages

calculations. If the jury holds Compass liable, it will presumably award either Dr. Kriegler’s or

Mr. Kalat’s total or something in between. Class members will then be given the opportunity to

submit their claims, which will be verified against Compass’ records. This would be similar to

the method described in Kay Co., LLC v. EQT Prod. Co., 2017 U.S. Dist. LEXIS 228275, at *19

(N.D.W. Va. Sep. 6, 2017): “Specifically, in Dijkstra, the Court made liability findings on the

class claims and awarded statutory and disgorgement damages on a class-wide basis, and then

allowed for individual class members to come forward with any claims of actual damages

beyond those compensable on a class-wide basis.” Id. (citing Dijkstra v. Carenbauer, No. 5:11-

cv-152 (N.D. W.Va.)).

    Moreover, since the need to prove individualized damages cannot defeat predominance, as

the Fourth Circuit held in Gunnells v. Healthplan Servs., 348 F.3d 417, 429 (4th Cir. 2003), the

need to prove individualized damages cannot defeat class certification on manageability grounds.

Otherwise, the Gunnells holding would be a nullity.

    D. Compass’ Typicality Argument Fails Because Commonality Is Present.

    Lastly, Compass grasps at its final straw by making what it calls an “alternative” argument

on typicality grounds.8 Def. Mem. 38-39. It argues that Mr. Jilek’s claim is atypical because he

learned of the surcharge while joining this case and made a few purchases afterward unlike the

absent class members, at least according to Plaintiff.9 But that doesn’t matter for the typicality of

his claim under Rule 23(a)(3). Typicality is a requirement at which the court “need not tarry for


8
 It is unclear what Compass means by “alternative.” It has made many separate arguments in 14 different sections
and subsections of its Memorandum, not counting this one. So what is this an alternative to?
9
 Compass purports to quote Plaintiff’s Memorandum at 15 (“None of those examples of knowing purchases would
be typical of class members who did not join this lawsuit.”). Def. Mem. 39. That sentence or anything like it is not
on page 15 or anywhere else in Plaintiff’s Memorandum.
                                                         24



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long” if commonality is present, 1988 Tr., 28 F.4th at 523, and which does not “require[] that the

plaintiff’s claim and the claims of class members be perfectly identical or perfectly aligned.”

Soutter v. Equifax Info. Servs., LLC, 307 F.R.D. 183, 208 (E.D. Va. 2015) (citation omitted).

Compass doesn’t contest commonality; its only two uses of that word in its Memorandum are in

an argument that predominance is more demanding than commonality. See Def. Mem. 15, 26, n.

16. Thus, typicality is present. See Plff. Mem. 31-32.

IV.      CONCLUSION

      It should be clear from the above that Compass’ arguments are no more than straw-grasping.

Thus, for the foregoing reasons and those in his original memorandum, Doc. 293-1, Plaintiff

respectfully requests that the Court certify the Class, name Plaintiff as Class Representative, and

appoint the undersigned attorneys as Class Counsel.

Dated: May 3, 2024                                    Respectfully submitted,

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                                                      ANTOGNOLI, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 3, 2024, the foregoing was filed with the Court Clerk via the

Court’s electronic filing system and served upon all counsel of record via the Court’s electronic

notification system.

                                                     /s/ Richard S. Cornfeld




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